       Case 2:17-cv-00249-SMJ     ECF No. 84   filed 10/21/20   PageID.822 Page 1 of 2
                                                                           FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON



1                                                                 Oct 21, 2020
                                                                      SEAN F. MCAVOY, CLERK

2

3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     EVANSTON INSURANCE                         No. 2:17-cv-00249-SMJ
5    COMPANY,

6                              Plaintiff,       ORDER GRANTING
                                                STIPULATED MOTION TO
7                 v.                            DISMISS DEFENDANTS JAC’S
                                                MOUNTAIN GROUP LLC AND
8    RELLS FIRE PROTECTION INC., a              OREGON MUTUAL INSURANCE
     Washington corporation; JAC’S              COMPANY UNDER FED. R. CIV.
9    MOUNTAIN GROUP LLC; and                    P. 41(a)
     OREGON MUTUAL INSURANCE
10   CO., a foreign insurer,

11                             Defendants.

12

13         On October 20, 2020, the parties filed a Stipulated Motion to Dismiss, ECF

14   No. 82. The parties agree to the dismissal of the cause of action against Defendants

15   Jac’s Mountain Group, LLC, and Oregon Mutual Insurance Company.

16         Consistent with their agreement and Federal Rule of Civil Procedure 41(a),

17   IT IS HEREBY ORDERED:

18         1.     The parties Stipulated Motion to Dismiss, ECF No. 82, is

19                GRANTED.

20

     ORDER GRANTING STIPULATED MOTION TO DISMISS DEFENDANTS
     JAC’S MOUNTAIN GROUP LLC AND OREGON MUTUAL INSURANCE
     COMPANY UNDER FED. R. CIV. P. 41(a)(2) – 1
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1          2.     All claims brought against Defendants Jac’s Mountain Group, LLC,

2                 and Oregon Mutual Insurance Company in the above-captioned are

3                 hereby DISMISSED WITH PREJUDICE and without an award of

4                 costs or fees to either party.

5          3.     The Clerk’s Office is directed to AMEND the caption as follows:

6                 EVANSTON INSURANCE COMPANY,

7                                      Plaintiff,

8                              v.

9                 RELLS FIRE PROTECTION INC., a Washington corporation,

10                                     Defendant.

11         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

12   provide copies to all counsel.

13         DATED this 21st day of October 2020.

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                        ____________________________
15                      SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER GRANTING STIPULATED MOTION TO DISMISS DEFENDANTS
     JAC’S MOUNTAIN GROUP LLC AND OREGON MUTUAL INSURANCE
     COMPANY UNDER FED. R. CIV. P. 41(a)(2) – 2
